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 4                               UNITED STATES DISTRICT COURT
 5                                      DISTRICT OF NEVADA
 6                                                ***
                                                             Case No. 2:17-cv-01612-RFB-DJA
 7     NATHAN WILLIAMS,
                   Plaintiff,                                    ORDER TO PRODUCE FOR
 8
                                                                   VIDEOCONFERENCE
 9     v.                                                          NATHAN WILLIAMS,
                                                                         #77356
10
       SGT. ALLEN, et al,
11                       Defendants.
12
            TO:     JEREMY BEAN, ASSOCIATE WARDEN, HIGH DESERT STATE PRISON,
13                  INDIAN SPRINGS, NV
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             THE COURT HEREBY FINDS that NATHAN WILLIAM, #77356, is presently in
15
     custody of the Nevada Department of Corrections, located at High Desert State Prison, Indian
16
     Springs, Nevada..
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             IT IS HEREBY ORDERED that the A s s o c i a t e Warden of High Desert
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     State Prison or his designee, shall arrange for and produce NATHAN WILLIAM,
19
     #77356 on or about December 2, 2022 at the hour of 11:00 a.m., for a Video
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     Status Conference Hearing by zoomgov technology in this instant matter and arrange
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     for his appearance on said date as ordered and directed by the Court in the entitled
22
     matter until NATHAN WILLIAM, #77356 is released and discharged by the said
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     Court; and that NATHAN WILLIAM, #77356, shall thereafter be returned to the custody
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     of the Associate Warden, High Desert State Prison, Indian Springs, Nevada, under safe and secure
25
     conduct.
26
             DATED this 22nd day of November, 2022.
27
                                                         __________________________________
28                                                       RICHARD F. BOULWARE, II
                                                         UNITED STATES DISTRICT JUDGE
